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                                     UNITED STATES DISTRICT COURT

                                         FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    Motion to Quash Summonses for
                                                          Wendy J. Olson, Elijah M. Watkins,
          v.                                              and Cory M. Carone
 ASHLEY GUILLARD,

                            Defendant.




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                                       I. INTRODUCTION

         Defendant Ashley Guillard (“Guillard”) has received a second chance to participate in this

litigation after defaulting, and she has abused that opportunity by filing frivolous counterclaims

not only against Plaintiff Rebecca Scofield (“Scofield” or “Professor Scofield”), ECF 22, but also

against Professor Scofield’s attorneys, Wendy J. Olson (“Olson”), Elijah M. Watkins (“Watkins”),

and Cory M. Carone (“Carone”), for “[c]ollectively . . . conspir[ing] to deprive Ashley Guillard of

her rights” by suing her for defamation, ECF 20, p. 8, ¶ 4. The “counterclaims” brought against

non-parties Olson, Watkins, and Carone are procedurally deficient and brought for no other

purpose than to delay the matter and harass the non-parties. Plaintiff brings this motion to dismiss

the counterclaims against these non-parties and quash the summonses issued against them.

                                       II. BACKGROUND

         In November 2022, four students at the University of Idaho were murdered at a home near

the campus. ECF 1, ¶ 5. As she has done since 2021 with other crimes, Guillard devised a scheme

to leverage the tragedy in Moscow for her personal gain: using her “spiritual acuity” to post

sensationalist content online to attract clicks and make money. ECF 20, p. 13, ¶ 32. The false story

that she has posted repeatedly is that Plaintiff Scofield, a professor at the University of Idaho, had

a same-sex affair with one of the victims and then ordered the murders to cover up the affair.

ECF 1, ¶¶ 15–26. Guillard herself admits to posting “over one hundred TikTok videos” related to

her “findings” about Professor Scofield. ECF 20, p. 14, ¶ 38.

         After failed attempts to resolve the conflict outside of court, Professor Scofield sued

Guillard for defamation. ECF 1. Instead of timely responding to Professor Scofield’s claims,

Guillard prolifically posted new videos and blog posts defaming Professor Scofield and accusing

law enforcement of corruption for arresting and prosecuting Bryan C. Kohberger for the crimes.

ECF 9, pp. 3–5. To end the spectacle, and to hold Guillard accountable for disregarding the Court’s

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deadlines, Professor Scofield requested a default judgment. ECFs 9, 10. The Court exercised its

discretion to give Guillard, a pro se litigant who promised this Court she would be timely and

responsive, a second chance. ECF 19.

         Guillard has used her second chance to file frivolous counterclaims not only against

Plaintiff Rebecca Scofield, ECF 22, but also against Professor Scofield’s attorneys, Olson,

Watkins, and Carone, for “[c]ollectively . . . conspir[ing] to deprive Ashley Guillard of her rights”

by suing her for defamation, ECF 20, p. 8, ¶ 4. On June 8, 2023, the clerk of court issued summons

for Olson, Watkins, and Carone, ECFs 24, 24-1, 24-2, but they have not yet been served. Guillard’s

inappropriate attempt to join Olson, Watkins, and Carone as parties to this action is a violation of

the Federal Rules of Civil Procedure. Professor Scofield now seeks to quash the summonses issued

against these non-parties.

                                        III. ARGUMENT

A.       The Court should dismiss Guillard’s counterclaims and quash the summonses
         issued against Olson, Watkins, and Carone because they are not proper parties to
         the action.

         Guillard’s counterclaims against Olson, Watkins, and Carone are unfounded attempts to

harass Professor Scofield and her counsel and to delay the proceedings of this case. These

counterclaims were not brought in compliance with the Federal Rules of Civil Procedure as

Professor Scofield’s attorneys are not parties. Because the “counterclaims” against counsel are

procedurally deficient, these counterclaims should be dismissed, and the summonses issued

quashed.

         1.       Guillard’s counterclaims fail because Olson, Watkins, and Carone are not
                  opposing parties within the meaning of Fed. R. Civ. P. 13(a) or (b).

         Guillard’s counterclaims cannot be brought against Olson, Watkins, and Carone under Fed.

R. Civ. P. 13(a) or (b) because they are not opposing parties. Rule 13(a) and (b) outline the general


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requirements for counterclaims. It is a fundamental requirement under these sections that the

counterclaims be brought against “an opposing party.” Fed. R. Civ. P. 13(a), (b). This action is a

defamation suit brought by Scofield against Guillard. Olson, Watkins, and Carone are not parties

to the suit, and thus the counterclaims brought by Guillard against them are improper under the

rules.

         2.       Guillard’s counterclaims fail under Fed. R. Civ. P. 14 because Olson,
                  Watkins, and Carone are not liable to Guillard for the claims brought
                  against her.

         Guillard has not met the requirements of Fed. R. Civ. P. 14 for third-party practice. Rule 14

allows for a defending party to serve a summons on a nonparty only when the nonparty “is or may

be liable to it for all or part of the claim against it.” Fed. R. Civ. P. 14(a)(1). It is not enough that

the third-party claim may have arisen from the same transaction or set of facts as the original claim.

Stewart v. Am. Int’l Oil & Gas Co., 845 F.2d 196, 200 (9th Cir. 1988). Finally, the deadline for a

defending party to add third parties under Rule 14 without court order is 14 days after service of

the original answer.

         Olson, Watkins, and Carone are not liable for any of the claim against Guillard. The claim

against Guillard is that she defamed Professor Scofield by posting false and defamatory videos

about Professor Scofield. Guillard alone is responsible for that conduct, and Professor Scofield

hired counsel and filed her complaint only after Guillard initially acted and then refused to stop.

Guillard’s counterclaims do not seek to direct liability for the defamation claim asserted by

Scofield against her. Instead, Guillard’s counterclaims are entirely separate claims against third

parties. In addition, Guillard filed her answer on May 16, 2023. Thus, the deadline for Guillard to

add third parties without court order was May 30, 2023. Therefore, Guillard cannot maintain her

counterclaims against Olson, Watkins, and Carone based on Rule 14.



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         3.       Guillard’s frivolous and harassing counterclaims fail because she cannot
                  unilaterally join non-parties to the action.

         Guillard improperly named Olson, Watkins, and Carone as counterclaim defendants for

multiple reasons. First, as set out in Fed. R. Civ. P. 13(h), adding a person to a counterclaim is

governed by Rules 19 and 20. Second, the addition of parties upon counterclaim is up to the

discretion of the court. It cannot be decided unilaterally by the defending party. Third, Guillard’s

joining of Professor Scofield’s attorneys to the counterclaims is harassment and frivolous conduct.

         Federal Rules of Civil Procedure 19 and 20 contain specific requirements for the joinder

of additional parties. Considering these requirements, the Ninth Circuit has adopted a stringent test

for district courts to apply in determining whether to allow a third party to be joined by

counterclaim. See Desert Empire Bank v. Ins. Co. of N. Am., 623 F.2d 1371, 1375 (9th Cir. 1980).

As a threshold matter, joinder of new parties requires that (1) a right to relief must be asserted

against each new party relating to or arising out of the same transaction or occurrence as the

original claim; and (2) a common question of law or fact between all parties must arise. Id.

Additionally, the trial court must consider the prejudice that may result to any of the parties, the

delay of the moving party in adding the new parties, the moving party's motive, the relationship

between the original and new parties, the new parties’ effect on the court’s jurisdiction, and the

fundamental fairness in adding the new parties. Id.

         Given the strict requirements for joinder of new parties, multiple district courts have held

that it is the general practice to obtain leave of court to join an additional party to a counterclaim.

Mountain States Sports, Inc. v. Sharman, 353 F. Supp. 613, 618 (D. Utah 1972), aff’d sub nom.

Eckles v. Sharman, 548 F.2d 905 (10th Cir. 1977); Golden Valley Nutrition, LLC v.

ImmunoNutrient Labarotories, Inc., No. 2:18-CV-235, 2018 WL 7341677, at *3 n.8 (E.D. Va.




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Sept. 28, 2018); See Bonumose Biochem LLC v. Zhang, No. 3:17-CV-00033, 2018 WL 3733651,

at *10 (W.D. Va. Aug. 6, 2018).

         The court plays an essential gatekeeping function in determining whether non-parties

should be added to a counterclaim. Desert Empire Bank, 623 F.2d at 1375; Golden Valley

Nutrition, LLC, 2018 WL 7341677, at *3. Whether to allow non-parties to be joined to a

counterclaim either with or without leave of the court is therefore left to the discretion of the court.

Casados v. Drury, No. CIV. 13-00283 LEK, 2014 WL 2968179, at *4 n.8 (D. Haw. June 30, 2014).

Even where a party does not seek leave of court to add a party to a counterclaim, the court must

still decide whether the party should be added, not the unilateral pleading of the parties. See Ignite

Spirits, Inc. v. Consulting by AR, LLC, No. 2:21-cv-01590-JCM-EJY, 2022 WL 993985, at *7 (D.

Nev. Jan. 24, 2022) (holding that the court will still decide the propriety of adding non-parties

under Rule 13(h), even absent parties’ contention).

         Guillard has provided no basis for this Court to exercise its discretion to allow Guillard to

add Olson, Watkins, and Carone as parties to her counterclaim. She has not sought leave of the

Court, and for the reasons set forth in Professor Scofield’s motion to dismiss filed June 6, 2023

(ECF Nos. 22, 22-1), the frivolous assertions in her counterclaim make clear that it is improper,

serves only to increase litigation costs, and is filed for purposes of harassment. Guillard says her

“spiritual research . . . intuitively led to the University of Idaho History Department,” she then

“spiritually inquired into each person listed on the History Department’s webpage,” and her

“insight for Rebecca Scofield revealed that she was in a relationship with Kaylee Goncalves that

broke up and that she initiated the murders, planned the murders, and hired help to carry the plan

out.” Id. at ¶¶ 34–36. Based on these preposterous allegations, and still no actual facts, Guillard

seeks to sue Professor Scofield and her attorneys primarily under civil rights statutes for conspiring



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“to silence Ashley Guillard to evade suspicion, obstruct justice, and to avoid criminal

investigation.” Id. at p. 14, ¶ 39. Rather than allow Guillard to drive up litigation expenses and use

this Court as a platform to continue her spectacle, the Court should dismiss Guillard’s

counterclaims against non-parties Olson, Watkins, and Carone and quash the issued summonses.

                                        IV.CONCLUSION

         For the foregoing reasons, Professor Scofield respectfully requests that the Court dismiss

all of Guillard’s counterclaims against Olson, Watkins, and Carone and quash the issued

summonses.

         DATED: June 13, 2023.

                                                              STOEL RIVES LLP


                                                               /s/ Wendy J. Olson
                                                              Wendy J. Olson
                                                              Elijah M. Watkins
                                                              Cory M. Carone

                                                              Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 13, 2023, I served a copy of the foregoing via CM/ECF on the

Registered Participant as follows:

         Ashley Guillard
         msashleyjt@gmail.com


                                              /s/ Wendy J. Olson
                                              Wendy J. Olson




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